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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )
                                            )
v.                                          )                      No.14-CR-3609-JB
                                            )
BENTLEY STREETT,                            )
                                            )
                       Defendant.           )


                                    Notice of Unavailability

       Defendant Bentley Streett, by and through counsel of record Harry Zimmerman,
respectfully notices this Court, opposing counsel, and co-counsel that undersigned counsel will
be out of state and unavailable February 18-20, 2019, March 18-22, 2019, and April 30, 2019
through May 3, 2019.

Dated: February 9, 2019                     Respectfully submitted,


                                            _______________________
                                            Harry Zimmerman
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                                            Albuquerque, NM 87111
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                                            Attorney for Bentley Streett

                                     Certificate of Service

       I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court
on February 9, 2019 using the CM/ECF system.




                                                    ________________________
                                                    Harry Zimmerman
